                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

CHARLES TIREK STEED,                             )
          Petitioner,                            )
                                                 )
                v.                               )        Civil Action No. 19-12093-JGD
                                                 )
COLETTE M. GOGUEN,                               )
         Respondent.                             )

                                    PROCEDURAL ORDER

       Petitioner, who is confined at MCI Shirley, has submitted for filing a petition for writ of
habeas corpus.

        A party filing a habeas action in this Court must either (1) pay the $5.00 filing fee for
habeas corpus actions; or (2) seek leave to proceed without prepayment of the filing fee. See 28
U.S.C. § 1914(a) (fees); 28 U.S.C. § 1915 (proceedings in forma pauperis). The motion for
leave to proceed without prepayment of the filing fee must be accompanied by “a certificate
from the warden or other appropriate officer of the place of confinement showing the amount of
money or securities that the petitioner has in any account in the institution.” Rule 3(a)(2) of the
Rules Governing Section 2254 Cases.

       Because petitioner has not submitted a filing fee or moved for leave to proceed in forma
pauperis, he shall be granted additional time to do so.

        Accordingly, if petitioner wishes to proceed with this action, no later than Thursday,
October 31, 2019, he must either (1) pay the $5.00 filing fee; or (2) file a motion for leave to
proceed in forma pauperis accompanied by a certified prison account statement. Failure of
petitioner to comply with this directive may result in the dismissal of this action without
prejudice.

        For the convenience of litigants, this Court provides a form application to seek leave to
proceed in forma pauperis. The Clerk shall provide petitioner with an Application to Proceed in
District Court Without Prepaying Fees or Costs.

       SO ORDERED.

                                                     /s/ Judith G. Dein
DATE: October 10, 2019                               UNITED STATES MAGISTRATE JUDGE
